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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

                                                          )
 In re:                                                   )   Chapter 11
                                                          )
 ALEXANDER E. JONES,                                      )   Case No. 22-33553 (CML)
                                                          )
                          Debtor.                         )
                                                          )
                                                          )
 In re:                                                   )   Chapter 11 (Subchapter V)
                                                          )
 FREE SPEECH SYSTEMS LLC,                                 )   Case No. 22-60043 (CML)
                                                          )
                          Debtor.                         )
                                                          )


                        THE CONNECTICUT PLANTIFFS’
            PRELIMINARY WITNESS LIST FOR CONFIRMATION HEARINGS

          David Wheeler, Francine Wheeler, Jacqueline Barden, Mark Barden, Nicole Hockley, Ian

Hockley, Jennifer Hensel, Donna Soto, Carlee Soto-Parisi, Carlos M. Soto, Jillian Soto Marino,

William Aldenberg, William Sherlach, Robert Parker, and Erica L. Ash (collectively, the

“Connecticut Plaintiffs”) submit this Preliminary Witness List for the confirmation hearings

scheduled for May 21-22, 2024 (the “Confirmation Hearings”) pursuant to the Second Amended

Agreed Scheduling Order for Confirmation Hearing [ECF No. 624].

                                          WITNESS LIST

          The Connecticut Plaintiffs may call the following witnesses at the Confirmation Hearings:

   1. Alexander E. Jones;

   2. Robert Schleizer;

   3. Patrick Magill;

   4. Jeffrey Shulse;



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   5. A representative for Neil Heslin, Scarlett Lewis, Leonard Pozner, Veronique De La Rosa,

       and the Estate of Marcel Fontaine;

   6. Expert witnesses disclosed by the parties in accordance with the case schedule;

   7. Any witness listed or called by any other party; and

   8. Rebuttal witnesses as necessary.


                                 RESERVATION OF RIGHTS

       The Connecticut Plaintiffs reserve all rights, including, but not limited to, the right to

amend, revise, or supplement this Preliminary Witness List at any time, to not call one or more of

the above witnesses, to designate additional witnesses, to call any person identified as a witness

by any other party in interest, to cross-examine any witness called by any other party, and to offer

additional witnesses and exhibits at the Confirmation Hearings for purposes of impeachment,

rebuttal, in response to witnesses and evidence offered by any other party, and for any other

permissible purpose under the Federal Rules of Bankruptcy Procedure and the Federal Rules of

Evidence.




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Dated: March 25, 2024


By: /s/ Ryan E. Chapple
CAIN & SKARNULIS PLLC                   KOSKOFF KOSKOFF & BIEDER PC
Ryan E. Chapple                         Alinor C. Sterling (admitted pro hac vice)
State Bar No. 24036354                  350 Fairfield Avenue
303 Colorado Street, Suite 2850         Bridgeport, Connecticut 06604
Austin, Texas 78701                     Telephone: (203) 336-4421
Telephone: (512) 477-5000
Fax: (512) 477-5011                     PAUL, WEISS, RIFKIND,
                                        WHARTON & GARRISON LLP
Counsel to the Connecticut Plaintiffs   Kyle J. Kimpler (admitted pro hac vice)
                                        Paul A. Paterson (admitted pro hac vice)
                                        Daniel A. Negless (admitted pro hac vice)
                                        1285 Avenue of the Americas
                                        New York, New York 10019-6064
                                        Telephone: (212) 373-3000
                                        FAX: (212) 757-3990

                                        Counsel to the Connecticut Plaintiffs




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                                CERTIFICATE OF SERVICE

        A true and correct copy of the foregoing document was filed with the Court on March
25, 2024, and served electronically upon those parties registered to receive electronic notice
via the Court’s CM/ECF system.

                                             /s/ Ryan E. Chapple
                                             Ryan E. Chapple
